        Case 2:08-cr-00116-KJM Document 213 Filed 09/24/10 Page 1 of 4


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOMONIC McCARNS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )                NO. CR. S-08-00116 FCD
10                                  )
          PLAINTIFF,                )                STIPULATION AND ORDER
11                                  )                TO CONTINUE THE STATUS
          v.                        )                CONFERENCE TO MONDAY
12                                  )                DECEMBER 6, 2010
     CHARLES HEAD, et al.,          )
13                                  )
                                    )
14        DEFENDANTS.               )
     ______________________________ )
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorney Mr. Matthew C. Stegman and the defendants
18   (hereinafter referred to as the defendants): 1-Charles Head, represented by attorney,
19   Mr. Scott L. Tedmon; 2-Keith Brotemarkle represented by attorney, Mr. Robert
20   Gazley; 3- Benjamin Budoff, represented by attorney, Mr. Dwight M. Samuel;
21   4-John Corcoran, represented by attorney, Mr. Matthew C. Bockmon; 5- Lisa Vang
22   represented by attorney, Mr. Timothy Warriner; 6-Kou Yang, represented by attorney,
23   Mr. Joseph Low; and 7-Domonic McCarns, represented by attorney, Mr. James R.
24   Greiner, hereby agree and stipulate that the current date for the status conference
25   currently set for, Monday, September 27, 2010, is hereby vacated and can be
26   rescheduled for Monday, December 6, 2010, at 10:00 a.m. in Courtroom #2 before
27   the Honorable District Court Judge, Frank C. Damrell, Jr..
28                                               1
        Case 2:08-cr-00116-KJM Document 213 Filed 09/24/10 Page 2 of 4


 1         Further, all of the parties, the United States of America and all of the defendants
 2   as stated above, hereby agree and stipulate that time under the speedy trial Act can be
 3   excluded under Title 18 section 3161(h)(7)(B)(ii) and section 3161(h)(7)(B)(iv),
 4   corresponding to Local code T-2 (the complexity of the case) and Local Code T-4 (to
 5   allow defense counsel reasonable time to prepare and continuity of counsel).
 6                   NEW DISCOVERY FROM THE GOVERNMENT
 7         The government on September 23, 2010, produced additional new discovery.
 8   The new discovery is on an External hard drive and takes up approximately 738 GB.1
 9   In addition, the defense is in the process of determining how to get copies of the
10   material to all the defense counsel so they may begin the review of the new discovery.
11   This new discovery, 738 GB of information, is in addition to the already over 290,000
12   documents the government had previously produced.
13         The parties agree and stipulate that, the interest of justice in granting this
14   reasonable request for a continuance outweighs all other interests in this case for a
15   speedy trial in this case, pursuant to Title 18 section 3161(h)(7)(B)(ii) and section
16   3161(h)(7)(B)(iv), corresponding to Local code T-2 (the complexity of the case) and
17   Local Code T-4 (to allow defense counsel reasonable time to prepare and for
18   continuity of defense counsel).
19         The Court’s Courtroom deputy, Ms. Michele Krueger, was contacted to ensure
20   the Court was available on Monday, December 6, 2010, and the Court is available.
21
22
23
24         1
            The defense does not know how many documents this discovery production is
25   because the defense does not have a program that can open the program the government
26   produced the discovery in so the defense is having an outside company open the external
27   hard drive.
28                                                2
       Case 2:08-cr-00116-KJM Document 213 Filed 09/24/10 Page 3 of 4


 1   Respectfully submitted:
 2                               BENJAMIN B. WAGNER
                                 UNITED STATES ATTORNEY
 3
                                 /s/ Matthew Stegman by e mail authorization
 4
     DATED: 9-23-10              _____________________________________
 5                               Matthew Stegman
                                 ASSISTANT UNITED STATES ATTORNEY
 6                               ATTORNEY FOR THE PLAINTIFF
     DATED: 9-23-10
 7                               /s/ Scott Tedmon by e mail authorization
                                 ______________________________________
 8                               Scott Tedmon
                                 Attorney for Defendant Charles Head
 9
     DATED: 9-23-10              /s/ Robert Gazley by e mail authorization
10                               _______________________________________
                                 ROBERT GAZLEY
11                               Attorney for Defendant Keith Brothemarkle
12   DATED: 9-23-10              /s/ Matthew Bockmon by e mail authorization
                                 ______________________________________
13                               Matthew Bockmon
                                 Attorney for Defendant John Corcoran
14
     DATED: 9-23-10              /s/ Dwight Samuel by e mail authorization
15                               ____________________________________
                                 DWIGHT SAMUEL
16                               Attorney for Defendant Benjamin Budoff
17   DATED: 9-23-10              /s/Timothy Warriner by e mail authorization
                                 ________________________________________
18                               Timothy Warriner
                                 Attorney for Defendant Lisa Vang
19
     DATED: 9-23-10              /s/ Joseph Low, IV by telephone authorization
20                               ______________________________________
                                 Joseph Low, IV
21                               Attorney for Defendant Kou Yang
22   DATED: 9-23-10              /s/ James R. Greiner
                                 ___________________________________
23                               James R. Greiner
                                 Attorney for Defendant Dominic McCarns
24
25   ///
26   ///
27   ///
28                                         3
        Case 2:08-cr-00116-KJM Document 213 Filed 09/24/10 Page 4 of 4


 1                                           ORDER
 2         Based upon the representations of counsel, the record in this case, and the
 3   agreements and stipulations between counsel in the case, and that
 4         The parties agree and stipulate that this Court can make the appropriate findings
 5   supported by the record in this case that this case is complex pursuant to the Speedy
 6   Trial Act, Title 18 U.S.C. section 3161(h)(7)(B)(ii) and local code T-2, which allows
 7   the Court to make the finding that this case is so unusual or so complex, due to the
 8   nature of the prosecution, and/or the existence of novel questions of fact or law,
 9   and/or, the existence of the amount of discovery (the newly produced discovery which
10   is approximately 738 GB of information along with the over 290,00 pages of
11   discovery previously discovered by the government), that it is unreasonable to expect
12   adequate preparation for pretrial proceedings or the trial itself within the time limits
13   established by the Speedy Trial Act. In addition, the Court can make a finding from
14   the record in this case, that time shall also be excluded under local code T-4, that time
15   is to be excluded for the reasonable time necessary for effective preparation by
16   defense counsel, continuity of defense counsel and Title 18 U.S.C. section
17   3161(h)(7)(B)(iv), of the speedy trial act.
18         The Status Conference currently set for Monday, September 27, 2010, is
19   vacated, and the new Status Conference is set for Monday, December 6, 2010,
20   with time excluded under the Speedy Trial Act from Monday, September 27, 2010,
21   through to and including Monday, December 6, 2010, for the reasons agreed to and
22   stipulated by the parties and as stated herein.
23
24         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
25
26   Dated: September 24, 2010
27                                              _______________________________________
28                                              FRANK C. DAMRELL, JR.
                                                UNITED STATES DISTRICT JUDGE


                                                   4
